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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

IN RE: IVANTIS, INC., et al.,                       )          C. A. No.: 23-MC-373-GBW
                                                    )
                                                    )


  JOINT STATEMENT OF PENDING MATTERS PURSUANT TO LOCAL RULE 81.2

        The Parties hereby submit this report pursuant to Local Rule 81.2 identifying all pending

 matters which require judicial action. Ivantis, Inc., Alcon Research LLC, Alcon Vision LLC, and

 Alcon Inc. filed this action in the U.S. District Court for the Northern District of Georgia to compel

 compliance with a subpoena duces tecum to Dr. Reay Brown. That subpoena relates to a case

 currently pending here in the U.S. District Court for the District of Delaware, Sight Sciences, Inc.

 v. Ivantis, Inc. et al., C.A. No. 21-1317-GBW-SRF (D. Del.).

        The only matter requiring judicial attention in this transferred action is the fully-briefed

 motion to compel. See D.I. 1 (motion); D.I. 30 (response); D.I. 35 (reply); D.I. 36 (transferring

 matter to the District of Delaware pursuant to Fed. R. Civ. P. 45(f)).

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  Dated: August 31, 2023                                LLC, Alcon Vision, LLC, and Alcon, Inc.
